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  16

  17                         UNITED STATES DISTRICT COURT
  18                       CENTRAL DISTRICT OF CALIFORNIA
  19 :                               SOUTHERN DIVISION
  20
         HSINGCHING HSU, Ind!vipually and        CASE NO. 8:15-cv-00865-DOC-SHK
  21 '   on Behalf of All Others Similarly
         Situated,                               CLASS ACTION
  22
                       Plaintiff,                STIPULATION AND AGREEMENT OF
  23                                             CLASS ACTION SETTLEMENT
              V.
  24
         PUMA BIOTECHNOLOGY, INC.,
  25 • and ALAN H. AUERBACH,

  26 •                 Defendants.
  27

 28
                                                              CASE NO. 8: l 5-cv-00865-DOC-SHK
                                                      STIPULATION AND AGREEMENT OF CLASS
                                                                          ACTION SETTLMENT
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   1     1.    The Parties
   2            1.1    The Parties to this Stipulation and Agreement of Settlement (the
   3     "Settlement Agreement") are ( l) Lead Plaintiff Norfolk County Council, as
   4     Administering Authority of the Norfolk Pension Fund ("Lead Plaintiff'), on behalf
   5     of itself and the members of the Class certified on December 8, 2017 (ECF No.
   6     218) (the "Class"); and (2) Defendants Puma Biotechnology, Inc. ("Puma") and
   7     Alan Auerbach ( collectively, "Defendants") (together with Lead Plaintiff, the
   8     "Parties").
   9            1.2    The Class is comprised of all persons who purchased or otherwise
  10     acquired Puma securities during the period from July 22, 2014 (after 6:00 p.m.
  11     EDT) through May 29, 2015, inclusive, and who were damaged thereby. Excluded
  12     from the Class are: (a) Alan H. Auerbach; (b) present and former executive officers
  13     of Puma; (c) all immediate family members of the foregoing, including
  14     grandparents, parents, spouses, siblings, children, grandchildren and step relations
  15     of similar degree; and ( d) all predecessors and successors in interest or assigns of
  16     any of the foregoing. Also excluded from the Class are those who timely and
  17     validly request exclusion.
  18     2.    The Settlement
  19           2.1     The Parties agree to settle the above-captioned litigation (the
  20     "Litigation") for $54,248,374.00 in cash ("Settlement Amount"). Defendants shall
  21     pay half of the Settlement Amount ($27,124,187.00) by wire transfer of immediately
  22     available funds into an interest-bearing escrow account (together with the funds on
  23     deposit therein from time to time, the "Escrow Account") controlled by lead counsel,
  24     Robbins Geller Rudman & Dowd LLP ("Lead Counsel"), acting as Escrow Agent
  25     subject to court oversight, on or before January 15, 2022. Between January 16, 2022,
  26     and June 15, 2022, interest shall accrue on the unpaid half of the Settlement Amount,
  27 ·   at the rate equal to the weekly average one-year constant maturity Treasury yield, as
 28      published by the Board of Governors of the Federal Reserve System, for the calendar

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        week preceding January 15, 2022. Defendants shall pay the remaining half of the
   2
        Settlement Amount ($27,124,187.00), plus accrued interest, by wire transfer of
   3
        immediately available funds into the Escrow Account on or before June 15, 2022.
   4
        Contemporaneously with each payment of the Settlement Amount, Defendants shall
   5
       • file a notice with the Court indicating that such payment has been made or a wire
   6
        transfer initiated and the date and manner of such payment (a "Payment Notice").
   7
        In the event that either half of the Settlement Amount is not timely paid (as
   8
        determined by Defendants' failure to file a Payment Notice on or before January 15,
   9
        2022, with respect to the first half of the Settlement Amount, and on or before June
  10
        15, 2022, with respect to the second half of the Settlement Amount), the Court shall,
  11
        without further action by Lead Plaintiff other than advising the Court of such failure,
  12
        order the Clerk of the Court to enter Judgment in the form of the Order at ECF No.
  13
        879 ("Non-Performance Judgment") subject to modification to reflect (i) any portion
  14
        of the Settlement Amount that has been paid and (ii) prejudgment interest for the
  15
        period September 18, 2021 through the date of entry of such Non-Performance
  16
        Judgment.    In the event the Non-Performance Judgment is entered, it shall not
  17
        constitute a waiver of Defendants' rights to file post-trial motions or take an appeal,
  18
        and the deadline for such filings shall run from the date of such entry, subject to all
  19
        objections, defenses, and other rights with respect thereto by Lead Plaintiff,
 20
        including the right to take an appeal. Any determination by a court of competent
 21
       jurisdiction that entry of the Non-Performance Judgment as contemplated herein
 22
        constituted or would constitute a violation of the automatic stay pursuant to section
 23
        362 of the Bankruptcy Code or similar law in connection with an Insolvency
 24
        Proceeding I of either Defendant shall not impact entry of, or the validity or
 25
        enforceability of, the Non-Performance Judgment against the other Defendant.
 26
        1
 27        "Insolvency Proceeding" means any bankruptcy, insolvency, liquidation,
        composition, general assignment, foreclosure, or similar proceeding, procedure, or
 28     action taken or commencecl by, for, or on behalf of any person or entity that has paid
        any portion of the Settlement Amount, whether or not subject to administrative or
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                                                    2      STIPULATION AND AGREEMENT OF CLASS
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   1
               2.2    The Settlement Amount, plus any interest accrued thereon, is referred
   2
         to as the "Settlement Fund." The Parties agree the Settlement Fund is intended to
   3
         be a Qualified Settlement Fund within the meaning of Treasury Regulation
   4
         § 1.468B-l. All costs and risks related to the investment of the Settlement Fund in
   5
         accordance with the guidelines set forth in this paragraph shall be borne by the
   6
         Settlement Fund.
   7
               2.3    Defendants have denied, and continue to deny, any and all allegations
   8
         and claims asserted by Lead Plaintiff in the Litigation. The settlement and any
   9
         final judgment based solely upon and approving the settlement and this Settlement
  10
       · Agreement ("Settlement Judgment") does not constitute, and shall not be offered
  11
         or received against Defendants as evidence of, or construed as, or deemed to be
  12 '
         evidence of any concession or admission by Defendants with respect to the truth of
  13
         any fact alleged or the validity of any claim that has been or could have been raised
  14
         in the Litigation. For the avoidance of doubt, the Settlement Judgment shall be
  15
         entered upon and reflect the terms of the settlement only, and shall not be nor shall
  16
         it be deemed to constitute a judgment or finding of liability on any claims
  17
         adjudicated by the jury. Defendants are entering into the settlement solely to
  18
         eliminate the burden, expense, and uncertainties of further litigation.
  19
               2.4    The "Effective Date" of this Settlement Agreement is the first date by
  20
         which all of the following conditions have been met and events have occurred:
  21
                      (a)    The Parties have executed this Settlement Agreement;
  22
                      (b)    The Settlement Amount has been paid in full pursuant to
  23
                      Paragraph 2.1;
  24

  25

  26
         court supervision, including but not limited to any voluntary or involuntary case
  27     under title 11 of the Unitea States Code (the "Bankruptcy Code"), receivership,
         composition, assignment for the benefit of creditors, dissolut10n, and all other similar
 28      proceedings, procedures, and actions.
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                                                     3       STIPULATION AND AGREEMENT OF CLASS
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   1
                     (c)    At least ninety-one calendar days have elapsed since the date
   2
                     the final payment of the Settlement Amount cleared into the Escrow
   3
                     Account, and all such payments have cleared and have not been
   4
                     determined by a court of competent jurisdiction, or alleged by any
   5
                     person or entity, to constitute an avoidable transfer in any Insolvency
   6
                     Proceeding;
   7
                     (d)    The Court has approved Lead Plaintiff's motion for preliminary
   8
                     approval of settlement, as required by Paragraph 7 .2;
   9•
                     ( e)   The Court has entered a Settlement Judgment that, inter alia,
  10
                     dismisses with prejudice the Litigation, as to the Settling Parties; and
  11
                     (t)    The Settlement Judgment has become final following (i) the
  12
                     expiration of time to file a motion to alter or amend judgment
  13
                     pursuant to Federal Rule of Civil Procedure 59(e) without any such
  14
                     motion having been filed, (ii) the time in which to appeal the
  15
                     Settlement Judgment has passed without any appeal having been
  16
                     taken, and (iii) if a motion to alter or amend is filed or if an appeal is
  17
                     taken, immediately after the determination of that motion or appeal so
  18
                     that it is no longer subject to any further judicial review or appeal
  19
                     whatsoever.
  20
              2.5    Each payment of any portion of the Settlement Amount shall be
  21
        credited, as of the date received: (a) against the Settlement Amount as of the date
  22
        received by the Escrow Agent, so long as Defendants have not defaulted under this
  23
        Settlement Agreement; and (b) in the event of a default by Defendants in payment
  24
        of the Settlement Amount, against the Non-Performance Judgment pursuant to
  25
        section 2.1 above, subject in each instance to automatic reversal of such credit to
  26
        the extent any portion of the Settlement Amount received by the Escrow Agent is
  27
        required to be returned as set forth in Paragraphs 8.1 or 8.3 below.
 28
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                                                    4       STIPULATION AND AGREEMENT OF CLASS
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   2
           3.     Escrow Agent
   3
                 3. 1   The Escrow Agent shall invest the Settlement Amount deposited
   4
       , pursuant to Paragraph 1.1 in instruments backed by the full faith and credit of the
   5
           United States Government or fully insured by the United States Government or an
   6
           agency thereof and shall reinvest the proceeds of these instruments as they mature
   7
           in similar instruments at their then-current market rates.
   8
                 3.2    The Escrow Agent shall not disburse the Settlement Fund except: (a)
   9
           as provided in Paragraph 6.3 of this Settlement Agreement; (b) by an order of the
  10
           Court; or (c) with the written agreement of counsel for the Parties.
  11
                 3.3    Subject to further order(s) and/or directions as may be made by the
  12
           Court, or as provided in the Settlement Agreement, the Escrow Agent is authorized
  13
       · to execute such transactions as are consistent with the terms of the Settlement
  14
           Agreement. The Released Defendant Parties (defined in Paragraph 4.1) shall have
  15
       1   no responsibility for, interest in, or liability whatsoever with respect to the actions
  16
           of the Escrow Agent, or any transaction executed by the Escrow Agent.
  17
                 3.4    All funds held by the Escrow Agent shall be deemed and considered
  18
           to be in custodia legis of the Court, and shall remain subject to the jurisdiction of
  19
           the Court, until such time as such funds shall be distributed pursuant to this
 20
           Settlement Agreement and/or further order of the Court.
 21
                 3.5    As a material inducement for Lead Plaintiff to enter into this
 22
           Settlement Agreement, (a) the Parties stipulate and agree that (i) the Settlement
 23
           Fund is not, and shall not be deemed to be, property of the estate of any of the
 24
           Parties within the meaning of 11 U.S.C. § 541 or any similar provision of any other
 25
           law and (ii) the commencement of an Insolvency Proceeding with respect to any
 26
           Defendant shall not operate to stay, terminate, cancel, suspend, excuse, delay,
 27
           impede, or otherwise interfere with or impair any rights of Lead Plaintiff or the
 28
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                                                        5      STIPULATION AND AGREEMENT OF CLASS
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   l
        Class to receive the Settlement Amount pursuant this Settlement Agreement; and
   2
        (b) each of the Defendants hereby disclaims, releases, and waives any right to
   3
       : assert to the contrary in any proceeding in any forum whatsoever.
   4
               3.6    None of the Defendants shall at any time have any right, interest, or
   5
        title in or to, or custody, control, or possession of, the Settlement Fund or the
   6
        Escrow Account and, therefore, shall not have the ability to pledge, convey,
   7
        hypothecate, or grant as security all or any portion of the Settlement Fund or the
   8
        Escrow Account. The Escrow Agent shall be in sole possession, custody, and
   9
        control of the Settlement Fund and the Escrow Account and shall not act as
  10
        custodian or trustee of or for the benefit of either of the Defendants for any
  11
        purpose, including but not limited to perfecting a security interest therein, and no
  12
        creditor of either of the Defendants shall have the right to have or to hold or
  13
        otherwise attach or seize all or any portion of the Settlement Fund or the Escrow
  14
        Account as collateral for or in satisfaction of any obligation, and shall not be able
  15
        to obtain a security interest in the Settlement Fund or the Escrow Account. Each
  16
        of the Defendants hereby disclaims, releases, and waives any right it may have to
  17
        assert that it has any right, interest, or title (equitable or otherwise) to the
  18
        Settlement Fund or the Escrow Account, other than their respective contingent
  19
        rights under this Settlement Agreement, if any, to receive funds from the Escrow
  20
        Account, solely to the extent expressly provided for in this Settlement Agreement.
  21
               3. 7   As a material inducement for Lead Plaintiff to enter into this
  22
        Settlement Agreement, the Defendants each (a) represent and warrant, as of the
  23
        time of entry into this Settlement Agreement that they are not insolvent, nor, as of
  24
        the time of the entry into this Agreement, will payment of the Settlement Amount
  25
        as contemplated by this Agreement render them insolvent, within the meaning and
  26
        for the purposes of the Bankruptcy Code (including but not limited to sections 101,
  27

 28
                                                                      CASE NO. 8: l 5-cv-00865-DOC-SHK
                                                      6       STIPULATION AND AGREEMENT OF CLASS
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   l
        547, and 548 thereof), and (b) disclaim, release, and waive any right to assert to the
   2
        contrary in any proceeding in any forum whatsoever.
   3
               3.8   This settlement is non-recapture, i.e., it is not a claims-made
   4
        settlement, and there is no reverter. No portion of the Settlement Amount shall
   5
        revert to Defendants unless the settlement does not become final.
   6
        4.     Releases
   7
               4.1   Upon the Effective Date, Lead Plaintiff and Class members, whether
   8
        or not such Class member executed and delivered a Proof of Claim (defined below)
   9
        or shares in the Settlement Fund, will release all claims and causes of action of
  10
        every nature and description against the Released Defendant Parties, whether
  11
        known or unknown, asserted or unasserted, accrued or unaccrued, fixed or
  12
       ' contingent, liquidated or unliquidated, whether arising under federal, state, local,
  13
        common or foreign law or any other law, rule or regulation, whether class or
  14
        individual in nature, arising out of, relating to or in connection with both: (a) the
  15
        facts, matters, events, transactions, acts, occurrences, statements, representations,
  16
        misrepresentations and/or omissions that were or could have been alleged in this
  17
        Litigation; and (b) the purchase and/or acquisition of Puma securities during the
  18
       . period from July 22, 2014 (after 6:00 p.m. EDT) through May 29, 2015, inclusive
  19
        (the "Released Claims"). "Released Defendant Parties" means: (i) Puma, Alan
  20
        Auerbach, and any defendant previously named as a defendant in this Litigation;
  21
        and (ii) each of their respective family members, and their respective general
  22
        partners, limited partners, principals, shareholders, joint venturers, members,
  23
        officers, directors, managers, managing directors, supervisors, employees,
  24
        contractors, consultants, auditors, accountants, financial advisors, professional
  25
        advisors, investment bankers, representatives, insurers, trustees, trustors, agents,
  26
        attorneys, professionals, predecessors, successors, assigns, heirs, executors,
  27
        administrators, and any controlling person thereof, in their capacities as such. This
 28
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                                                    7       STIPULATION AND AGREEMENT OF CLASS
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       . release does not include any claims relating to the enforcement of the settlement.
   2
           The settlement will not be conditioned upon the obtaining of or any judicial
   3
           approval of any releases between or among Defendants and/or any third parties.
   4
       !   No such releases will be contained in the Settlement Agreement or referred to in
   5
           the final Settlement Judgment.
   6
                 4.2    Released Claims includes the defined term of "Unknown Claims."
   7
           Unknown Claims means any Released Defendants' Claims that Lead Plaintiff or
   8
           any other class member does not know or suspect to exist in such party's favor at
   9
           the time of the release, which, if known by such party, might have affected such
  10
           party's decision to settle or release claims. Upon the Effective Date, Defendants,
  11
           Lead Plaintiff, and the Class shall expressly waive, and be deemed to have waived,
  12
           to the fullest extent permitted by law, the provisions, rights, and benefits of
  13
           California Civil Code § 1542, which provides:
  14
                 A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
  15             THAT THE CREDITOR OR RELEASING PARTY DOES NOT
                 KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT
  16             THE TIME OF EXECUTING THE RELEASE AND THAT, IF
                 KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY
  17             AFFECTED HIS OR HER SETTLEMENT WITH THE
                 DEBTOR OR RELEASED PARTY.
  18

  19       Upon the Effective Date, Defendants, Lead Plaintiff and the Class shall expressly

 20        waive, and be deemed to have waived, to the fullest extent permitted by law, any

 21
           and all provisions, rights, and benefits conferred by law of any state or territory of

 22        the United States, or principle of common law that are similar, comparable, or

 23        equivalent to California Civil Code § 1542. Defendants, Lead Plaintiff and the

 24        Class shall be deemed to have, and by operation and order of final judgment shall

 25        have fully, finally, and forever settled and released all Released Claims, as the case

 26        may be known or unknown, suspected or unsuspected, contingent or non-
 27 • contingent, whether or not concealed or hidden, upon any theory of law or equity

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                                                                       CASE NO. 8: l 5-cv-00865-DOC-SHK
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           now existing or coming into existence in the future, without regard to the
   2
       • subsequent discovery or existence of different or additional facts.
   3
                 4.3     Upon the Effective Date, Lead Plaintiff and each member of the Class
   4
           and anyone claiming through or on behalf of them, shall be permanently barred
   5
           and enjoined from the commencement, assertion, institution, maintenance,
   6
           prosecution, or enforcement against any Released Defendant Parties of any action
   7
           or other proceeding in any court of law or equity, arbitration tribunal,
   8
           administrative forum, or forum of any kind, asserting any of the Released Claims.
   9
                 4.4     Upon the Effective Date, Defendants and former defendant Charles R.
  10
           Eyler will release Lead Plaintiff, Lead Counsel and all class members from all
  11
           claims and causes of action of every nature and description, whether known claims
  12
           or unknown claims, whether arising under federal, state, common or foreign law,
  13
           that arise out of or relate in any way to the institution, prosecution or settlement of
  14
           the claims asserted in the action against Defendants and their related parties in this
  15
       . Litigation. This release does not include any claims relating to enforcement of the
       I

  16
           settlement.
  17
                 4.5     No Person shall have any claim against Lead Plaintiff, Lead Counsel,
  18
           Released Defendant Parties, Defendants' counsel, or the Claims Administrator
  19
           (defined in Paragraph 6.1) based on distributions made substantially in accordance
  20
           with the Settlement Judgment or otherwise as further ordered by the Court. This
  21
           does not include any claim by any party for breach of this Agreement.
  22
                 4.6     Neither the Settlement Agreement nor any negotiations, discussions,
  23
           proceedings or act performed or document executed pursuant to or in furtherance
  24
           of the Settlement Agreement: (a) is or may be deemed to be or may be used as an
  25
           admission of, or evidence of, the validity of any Released Claim, or of any
  26
           wrongdoing or liability of Defendants; or (b) is or may be deemed to be or may be
  27
           used as an admission of, or evidence of, any fault or omission of any of Defendants
  28
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        in any civil, criminal or administrative proceeding in any court, administrative
   2
        agency or other tribunal. The Released Defendant Parties, Lead Plaintiff, members
   3
        of the Class, and Lead Counsel may file the Settlement Agreement and/or the
   4
        Settlement Judgment in any action that may be brought against them in order to
   5
        support a defense or counterclaim based on principles of res judicata, collateral
   6
        estoppel, release, good faith settlement, judgment bar or reduction or any other
   7
        theory of claim preclusion or issue preclusion or similar defense or counterclaim,
   8
       • or in connection with any proceeding to enforce the terms of this Settlement
   9
        Agreement.
  10
        5.    Fee and Expense Award
  11
              5.1    Lead Counsel may submit an application or applications to the Court
  12
        (the "Fee and Expense Application") for distributions from the Settlement Fund
  13
        for: (a) an award of attorneys' fees; plus (b) expenses or charges in connection
  14
        with prosecuting the Litigation; plus (c) interest on both amounts as earned by the
  15
        Settlement Fund (until paid) as may be awarded by the Court.
  16
              5 .2   Any and all such fees, expenses and charges awarded by the Court
  17
        (the "Fee and Expense Award") shall be paid to Lead Counsel solely out of the
  18
        Settlement Fund at the time of the Effective Date.
  19
              5 .3   Lead Plaintiff may submit an application for an award under the
  20
        PSLRA based on its representation of the Class. Any such amounts awarded to
  21
       , Lead Plaintiff shall be paid from the Settlement Fund.
  22
              5.4    The procedure for and the allowance or disallowance by the Court of
  23
        the Fee and Expense Award, or the award to the Lead Plaintiff, to be paid out of
  24
        the Settlement Fund, are not part of the Settlement Agreement, and any order or
  25
        proceeding relating to the Fee and Expense Application, or an award to Lead
  26
        Plaintiff, or any appeal from any order relating thereto or reversal or modification
  27
        thereof, shall not operate to terminate or cancel the settlement, or affect or delay
  28
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                                                   10        STIPULATION AND AGREEMENT OF CLASS
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   1   i
       ' the finality of the Settlement Judgment approving the Settlement Agreement
   2
           (including the releases contained herein).
   3
                 5.5    The Released Defendant Parties shall not have any responsibility for
   4:
           or liability with respect to the payment of any Fee and Expense Award.
   5
           6.    Class Notice and Claims Administration, Distribution of
   6             Settlement Fund
   7             6.1    Court-appointed claims administrator Gilardi & Co. LLC (the "Claims
   8       Administrator") previously calculated claims submitted by Class Members
   9       between October 1, 2019, and August 26, 2020. It shall be the Claims
  10       Administrator's responsibility, under supervision of Lead Counsel, to provide
  11       notice of the settlement to all Class Members who submitted validated claims as
  12       reflected in the Order at ECF No. 879 ("Class Claimants") and to oversee
  13       distribution of the Settlement Fund to Class Claimants.
  14             6.2    The Notice shall be in the form of Exhibit 1 attached hereto, and shall
  15       set forth the terms of the Settlement Agreement and Lead Counsel's Fee and
  16       Expense Application; the date and time of the Final Approval Hearing; the right to
  17       object to the settlement or request for fees and expenses or the PSLRA award to
  18       Lead Plaintiff; and the right to appear at the Final Approval Hearing. The Notice
  19       shall also be posted on the Claims Administrator's website. In accordance with the
  20       schedule set forth in the Notice Order, the Summary Notice, substantially in the
  21       form of Exhibit 2 attached hereto, will also be published once in the national
  22       edition of The Wall Street Journal and once over a national newswire service. The
  23       cost of providing such notice shall be paid out of the Settlement Fund.
  24 ,           6.3    The Settlement Fund shall be applied as follows:
  25                    (a)    to pay all Notice and Administration Expenses;
  26                    (b)    to pay the Fee and Expense Award;
  27                    ( c)   to pay any award to Lead Plaintiff as allowed under the
  28                    PSLRA, subject to the approval of the Court; and

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   1
                      (d)    after the Effective Date, to distribute the Settlement Fund
   2,
                      to Class Claimants as allowed by the Settlement Agreement or
   3
                      further order( s) of the Court as may be necessary or as
   4
                      circumstances may require.
   5
               6.4    The Claims Administrator shall distribute claims in accordance with
   6
         the damages and prejudgment interest calculations reflected in ECF No. 879 (plus
   7
         any additional interest earned on the Settlement Fund) less each Class Claimant's
   8
         pro rata share of ( l) any and all funds awarded as attorneys' fees, costs, or
   9
       , otherwise based on Lead Plaintiffs Fee and Expense Application; (2) any PSLRA
  10
         award to Lead Plaintiff; and (3) any and all costs to administer the Settlement
  11
       . including escrow fees, notice costs, and any and all other claims administration
  12 .
         costs. The Claims Administrator shall send to each Class Claimant his, her, or its
  13
         pro rata share of the Settlement Fund within two weeks of the Effective Date.
  14
               6.5    Except as otherwise ordered by the Court, all Class Members who
  15
         failed to submit a Proof of Claim that was validated by the Claims Administrator
  16
         and identified in ECF No. 879, shall be forever barred from receiving any
  17
         payments pursuant to the Settlement Agreement, but in accordance with the Notice
  18
         of Verdict (approved by the Court on September 9, 2019 (ECF No. 778)) will in all
  19
         other respects be subject to and bound by the Settlement Judgment entered by the
  20
         Court and the provisions of the Settlement Agreement, and the releases contained
  21
         herein.
  22
               6.6    Any adjustment to a Class Claimant's claim is not a part of the
  23
         Settlement Agreement and is to be considered by the Court separately from the
  24
         Court's consideration of the fairness, reasonableness, and adequacy of the terms set
  25
         forth in the Settlement Agreement, and any order or proceeding relating to
  26
         payments to any Class Claimant shall not operate to terminate or cancel the
  27 .
         Settlement Agreement or affect the finality of the Settlement Judgment, or any
  28
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   1
       ' other orders entered pursuant to the Settlement Agreement. Defendants shall have
   2
        no responsibility or liability for allocation of the Settlement Fund and shall have no
   3
        right to discovery with respect to it.
   4
               6. 7   Defendants will have no responsibility for the settlement notice,
   5
        settlement administration, or the allocation of the Settlement Fund among class
   61
        members. Members of the Class shall have no recourse as to the Released
   7
        Defendant Parties with respect to any claims they may have that arise from any
   8
        asserted failure of the notice process.
   9
               6.8    All costs and expenses of providing notice to class members and the
  10
       · administering of the settlement (except for the costs associated with providing
  11
        notice as required under the Class Action Fairness Act, as explained in Paragraph
  12
        7.2) shall be paid solely from the Settlement Fund. In the event that the settlement
  13
        is not consummated, money paid or costs incurred to that date for this specific
  14
        purpose, including any related fees, shall not be returned or repaid to Defendants
  15
       : and/or such other persons or entities that funded any of the Settlement Amount, if
  16
        any.
  17
               6.9    Notwithstanding the fact that the Effective Date has not yet occurred,
  18
        Lead Counsel may expend up to $500,000 from the Escrow Account to pay or be
  19
        reimbursed for the actual and reasonable costs of notice and settlement
  20
       , administration without further order of the Court. After the Effective Date, Lead
  21
        Counsel may pay all of the costs and expenses actually incurred in connection with
  22
        the notice and settlement administration from the Escrow Account without further
  23
        approval order of the Court. In the event the Effective Date does not occur, any
  24
        money paid or incurred for the above purposes, including any related fees, shall not
  25
        be returned or repaid to Defendants.
  26
  27

  28
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   1 7.          Settlement Approval
   2             7.1    Lead Counsel will prepare motion papers in connection with
   3       preliminary and final approval. Lead Counsel will file a motion for preliminary
   4 approval of settlement by no later than December 3, 2021.
   5             7.2    Pursuant to CAFA, no later than ten (10) calendar days after the
   6 Settlement Agreement is filed with the Court, Defendants, at their own cost, shall
   7       serve proper notice of the proposed Settlement upon those who are entitled to such
   8 notice pursuant to CAFA.
   9             7.3    Lead Counsel shall request that the Court hold a hearing (the
  1 o . "Settlement Hearing") after notice is given to the Class, as set forth in Paragraph
  11 7.2, and approve the Settlement Agreement. At or after the Settlement Hearing,
  12       Lead Counsel also shall request that the Court approve the Fee and Expense
  13       Award.
  14       8.    Disapproval, Cancellation, or Termination of Settlement
  15             8.1    Only in the event the settlement is not approved by the Court or is
  16       reversed on appeal, within ten (10) business days after such event, the Settlement
  17 Fund, less any portion of the $500,000 allocable to the actual and reasonable costs
  18 , of class notice and settlement administration that has been spent or incurred for
  19 such purposes as set forth in Paragraph 6.9, shall be distributed by the Escrow
       1




  20 Agent to Defendants.
  21             8.2    If the court does not grant final approval to the Settlement Agreement,
  22       or the settlement otherwise does not become effective, the Parties shall revert to
  23       their litigation positions as of October 29, 2021.
  24             8.3    In the event a court of competent jurisdiction enters a final order, not
  25       subject to any further proceedings (including but not limited to appeals,
  26       reargument, or rehearing), in an Insolvency Proceeding or otherwise, determining
  27 the transfer of the Settlement Amount, or any portion thereof, by or on behalf of
  28 any Defendant to be a preference, voidable transfer, fraudulent transfer, or similar
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       transaction under the Bankruptcy Code or applicable state law and any portion of
   2
       the Settlement Amount is required to be refunded and such amount is not promptly
   3
       deposited in the Settlement Fund by or on behalf of the Defendants, then
   4
       Defendants shall be automatically deemed, with no further action by Lead Plaintiff
   5
       (other than notifying the Court of such occurrence) and notwithstanding any
   6
       applicable provisions of the Bankruptcy Code, to have stipulated to entry of the
   7
       Non-Performance Judgment, modified to reflect any portion of the Settlement
   8
       Amount that has been paid and to include any additional prejudgment interest, and
   9
       the Court shall enter the Non-Performance Judgment as so amended. In such
  10
       instance, unless the Settlement Amount is otherwise paid in full to the Escrow
  11
       Account to replenish the Settlement Fund (with funds that are not subject to
  12
       avoidance in accordance with this Paragraph 8.3), the releases given in favor of the
  13
       Defendants shall be null and void, but the Settlement Agreement (and any
  14
       Settlement Judgment) shall otherwise continue in full force and effect, and the
  15
       Defendants shall remain liable for the remaining unpaid portion of the Settlement
  16
       Amount. In the event a Defendant that is a debtor in an Insolvency Proceeding
  17
       asserts that an automatic stay under section 362(a) of the Bankruptcy Code or
  18
       similar state law precludes automatic entry of the Non-Performance Judgment
  19
       against such Defendant, (a) the Non-Performance Judgment nevertheless shall be
  20
       entered against the other Defendant without delay notwithstanding any dispute
       regarding such automatic stay, (b) each Defendant shall cooperate with, and shall
  22
       not oppose, Lead Plaintiff in obtaining relief from such automatic stay, and (c) as a
  23
       material inducement for Lead Plaintiff to enter into this Settlement Agreement,
  24
       each Defendant disclaims, releases, and waives any right to assert that it is entitled
  25
       to the protection of any automatic stay in an Insolvency Proceeding of the other
  26
       Defendant.
  27
  28
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   1       9.    Miscellaneous Provisions
   2             9.1     All Class members shall be subject to and bound by the provisions of
   3       the Stipulation, the releases contained herein, and the Settlement Judgment ( or, if
   4
       1
           entered, the Non-Performance Judgment), whether or not such Class Member
   5       executed and delivered the Proof of Claim or shares in the Settlement Fund.

   6             9 .2    All agreements made and orders entered during the course of the
   7       Litigation relating to the confidentiality of documents and information shall
   8       survive this Settlement Agreement, pursuant to its terms.
   9             9.3     The Settling Parties: (a) acknowledge that it is their intent to
  1o consummate this Settlement; and (b) agree to cooperate to the extent reasonably

  11       necessary to effectuate and implement all terms and conditions of the Settlement
  12       Agreement and to exercise their best efforts to accomplish the foregoing terms and
  13       conditions of the Settlement Agreement expeditiously.
  14             9 .4    The Settling Parties shall, in good faith, endeavor to communicate the
  15       terms of the Settlement, if at all, in a manner that is respectful of the fact that no
  16       final adjudication of fault was determined by a court, unless the Non-Performance
  17       Judgment is entered pursuant to paragraph 2.1 above. For the avoidance of doubt,
  18       nothing in this paragraph shall be construed as prohibiting, or placing restrictions
  19 • on, the public disclosure of the fact of, terms of, or Court-approved notice of the

  20       Settlement, as required by law or on Lead Counsel's firm websites.

  21              9.5    The Settlement Judgment will contain a provision that, throughout the
  22       course of the action, all parties and their counsel complied with the requirements of
  23       Rule 11 of the Federal Rules of Civil Procedure.
  24              9.6    This Settlement Agreement is binding on the parties.
  25              9. 7   The Settlement Agreement shall be binding upon, and inure to the
  26       benefit of, the heirs, successors, and assigns of the Parties hereto.
  27              9.8 · This Settlement Agreement is governed by the laws of the State of
  28       California without regard to any principles of conflict of laws.
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              9.9    Except as provided herein, the Parties are to bear their own costs.
   2
              9.10 The Settlement Agreement may be amended or modified only by a
   3
        written instrument signed by or on behalf of all Parties or their respective
   4
        successors-in-interest.
   5
              9.11 No waiver of any term or provision of this Settlement Agreement, or
   6
        of any breach or default hereof or hereunder, shall be valid or effective unless in
   7
        writing and signed by or on behalf of all Parties or their respective successors-in-
   8
        interest. No waiver of any term or provision of this Settlement Agreement, or of
   9
        any breach or default hereof or hereunder, shall be construed as a waiver of the
  10
        same or any other term or provision or of any previous or subsequent breach
  11
        thereof.
  12
              9.12 The Settlement Agreement and the Exhibits attached hereto constitute
  13
        the entire agreement among the Parties and no representations, warranties, or
  14
        inducements have been made to any Party concerning the Settlement Agreement or
  15
       • its Exhibits other than the representations, warranties, and covenants contained and
  16
        memorialized in such documents. Except as otherwise provided herein, each Party
  17
        shall bear its own costs.
  18
              9 .13 This Settlement Agreement shall be construed and interpreted to
  19
        effectuate the intent of the Parties, which is to resolve completely those claims and
  20
        disputes, including in the Litigation, and as more fully described herein. If any
  21
        provision of this Settlement Agreement shall be determined to be invalid, void, or
  22
        illegal, such provision shall be construed and amended in a manner that would
  23
        permit its enforcement, but in no event shall such provision affect, impair, or
  24
        invalidate any other provision hereof.
  25
              9.14 Neither the Class Members nor Defendants shall be bound by the
  26
        Settlement Agreement if the Court modifies material terms thereof, provided,
  27
        however, that it shall not be a basis for Class Members to terminate the Settlement
  28
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           if the Court modifies any criteria for allocation of the Settlement Fund amongst
   2
           Class Members, or the allocation of the Settlement Fund is modified on appeal.
   3
           Nor shall it be a basis to terminate the Settlement Agreement if the Court
   4
           disapproves of or modifies the terms of this Settlement Agreement with respect to
   5
           attorney's fees or expenses or the distribution of the Settlement Fund.
   6
           Notwithstanding any such modification of the terms or the Settlement Agreement
   7
           with respect to attorney's fees or expenses, Defendants shall be entitled to all
   8
           benefits of the Settlement and shall not, under any circumstances, be called upon to
   9
           contribute additional funds to the Settlement Amount.
  10
                 9.15 Lead Counsel, on behalf of the Class, are expressly authorized by
  11
           Lead Plaintiff to take all appropriate action required or permitted to be taken by the
  12
           Class pursuant to the Settlement Agreement to effectuate its terms and also are
  13
           expressly authorized to enter into any modifications or amendments to the
  14
           Settlement Agreement on behalf of the Class which they deem appropriate.
  15
                 9 .16 Each counsel or other Person executing the Settlement Agreement or
  16
           any of its Exhibits on behalf of any Settling Party hereby warrants that such Person
  17
           has the full authority to do so.
  18
                 9. l 7 All notices, requests, demands, claims, and other communications
  19
           hereunder shall be in writing and shall be deemed duly given: (i) when delivered
  20
           personally to the recipient; (ii) one ( l) business day after being sent to the recipient
  21
           by reputable overnight courier service ( charges prepaid); or (iii) five ( 5) business
  22
           days after being mailed to the recipient by certified or registered mail, return
  23
           receipt requested and postage prepaid, and addressed to the intended recipient as
  24 '
       1   set forth below:
  25
                  If to Lead Plaintiff or to Lead Counsel:
  26
                  Tor Gronborg
  27              ROBBINS GELLER RUDMAN & DOWD LLP
  28              655 West Broadway, Suite 1900

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   1          San Diego, CA 9210 l
   2
              If to Defendants or to Defendants' counsel:
   3          Colleen Smith
   4          LATHAM & WATKINS LLP
              12670 High Bluff Drive
   5          San Diego, CA 92130
   6
              9.18 Other than their obligation to fund the Settlement Amount as provided
   7
       . for herein, Defendants shall have no responsibility whatsoever for any of Lead
   8
        Plaintiff's attorney fees or costs (including out-of-pocket costs). Upon final
   9
        judicial approval of the settlement, but not less than ninety-one calendar days after
  10
        the date the final payment of the Settlement Amount has cleared into the Escrow
  11
       , Account for credit to the Settlement Fund, the action shall be dismissed with
  12
        prejudice and with no further payment of fees, costs or other expenses by
  13
        Defendants.
  14
              9 .19 The Settlement Agreement may be executed in one or more
  15
        counterparts. All executed counterparts and each of them shall be deemed to be
  16
        one and the same instrument. A complete set of executed counterparts shall be
  17
        filed with the Court. Signatures sent by facsimile or by PDF via e-mail shall be
  18
        deemed originals.
  19
              9 .20 Pending approval of the Court of the Settlement Agreement and its
  20
        Exhibits, and subject to Paragraph 8.3, all proceedings in this Litigation shall be
  21
        stayed and all members of the Class shall be barred and enjoined from
  22
        commencing any action to prosecute or prosecuting any of the Released Claims
  23
        against any of the Released Defendant Parties provided, however, that the
  24
        foregoing consensual stay shall dissolve automatically without further order of the
  25
        Court or action by any party immediately upon a failure by Defendants to pay any
  26
       • portion of the Settlement Amount when due as set forth in paragraph 2.1 above.
  27

  28
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             9 .21   As a material inducement for Lead Plaintiff to enter into this
   2
       Settlement Agreement, (a) the Parties stipulate and agree that (i) the Settlement
   3
       Agreement shall not be, and shall not be deemed or considered to be, executory, as
   4
       that term has been interpreted under 11 U.S.C. § 365, and (ii) nothing in the
   5
       Settlement Agreement shall render the Settlement Agreement or any portion
   6
       thereof executory, as that term has been interpreted under 11 U.S.C. § 365, and
   7
       (b) each of the Defendants hereby disclaims, releases, and waives any right to
   8
       assert to the contrary in any proceeding in any forum whatsoever.
   9
             9.22 The Court shall retain jurisdiction with respect to implementation and
  10
       enforcement of the terms of the Settlement Agreement, and all Parties hereto
  11
       submit to the jurisdiction of the Court for purposes of implementing and enforcing
       the settlement.
  13

  14
       EXECUTED AND AGREED:
  15

  16    DATED: December 1, 2021                 ROBBINS GELLER RUDMAN
                                                  &DOWDLLP
  17                                            PATRICK J. COUGHLIN
                                                TOR GRONBORG
  18                                            JASON A. FORGE
                                                TRIG R. SMITH
  19                                            J. MARCO JANOSKI GRAY
                                                TING H. LIU
  20
  21

  22
  23
                                           -       I        6-GRONB;RG
                                                655 West Broadway, Suite 1900
                                                San Diego, CA 92101
  24                                            Telephone: 619/231-1058
                                                619/231-7423 (fax)
  25
                                                Counsel for Lead Plaintiff and the Class
  26
  27

  28
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   1      DATED: December 1, 2021                 LATHAM & WATKINS LLP
                                                  MICHELE D. JOHNSON (198298)
   2                                              KRISTIN N. MURPHY (268285)
   3

   4                                                            Michele D. Johnson
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                                                  Costa Mesa, CA 92626-1925
   6                                              Tel: (714) 540-1235
                                                  Fax: (714) 755-8290
   7                                              michele.j ohnson@,lw.com
                                                  kristin.murphy@Tw.com
   8
                                                  COLLEEN C. SMITH (231216)
   9.                                             12670 High Bluff Drive
                                                  San Diego, CA 92130-3086
  10                                              Tel: (858) 523-5400
                                                  Fax: (858) 523-5450
  11                                              colleen.smith@lw.com
  12                                              ANDREW B. CLUBOK (oro hac vice)
                                                  SARAH A. TOMKOWIAK (pro hac vice)
  13 ;                                            555 Eleventh Street NW, Suite l 000
                                                  Washington, DC 20004-1304
  14                                              Tel: (202) 637-2200
                                                  Fax: (202) 637-2201
  15                                              andrew.clubok@lw.com
                                                  sarah. tomkowiak(a}lw .com
  16
                                                  Attorneys for Defendants Puma
  17                                              Biotechnology, Inc. and Alan H Auerbach
                                                  and former Defendant Charles R. Eyler
  18

  19           All signatories listed, and on whose behalf the filing is submitted, concur in
  20     the tiling's content and have authorized the filing.
  21
  22     Dated: December l, 2021                 LATHAM & WATKINS LLP

  23

  24
                                                         Isl Michele D. Johnson
                                                         Michele D. Johnson
  25

  26

  27
  28
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   1
                                  CERTIFICATE OF SERVICE
   2
             I hereby certify under penalty of perjury that on December 13, 2021, I
   3
       authorized the electronic filing of the foregoing with the Clerk of the Court using the
   4
       CM/ECF system which will send notification of such filing to the e-mail addresses
   5
       on the attached Electronic Mail Notice List, and I hereby certify that I caused the
   6
       mailing of the foregoing via the United States Postal Service to the non-CM/ECF
   7
       participants indicated on the attached Manual Notice List.
   8
                                                  /s/ TOR GRONGBORG
   9                                               TOR GRONBORG
  10                                               ROBBINS GELLER RUDMAN
                                                         & DOWD LLP
  11                                               655 West Broadway, Suite 1900
                                                   San Diego, CA 92101-8498
  12                                               Telephone: 619/231-1058
                                                   619/231-7423 (fax)
  13
                                                   E-mail: Torg@rgrdlaw.com
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Mailing Information for a Case 8:15-cv-00865-DOC-SHK HsingChing Hsu v. Puma Biotechnology, Inc. et al
Electronic Mail Notice List

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Manual Notice List
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